Case 8:25-cv-00207-JVS-JDE        Document 22 Filed 04/01/25           Page 1 of 17 Page ID
                                        #:112



 1 PAUL ALAN LEVY
   plevy@citizen.org
 2
   (pro hac vice)
 3 PUBLIC CITIZEN LITIGATION GROUP
   1600 20th Street NW
 4
   Washington, D.C. 20009
 5 Telephone: (202) 588-7725
 6
     PHILLIP R. MALONE (SBN 163969)
 7   pmalone@stanford.edu
 8   JUELSGAARD INTELLECTUAL PROPERTY
     AND INNOVATION CLINIC
 9   Mills Legal Clinic at Stanford Law School
10   Crown Quadrangle, 559 Nathan Abbott Way
     Stanford, California 94305
11   Telephone: (650) 724-1900
12
     COREY A. DONALDSON (SBN 280383)
13   cdonaldson@fcoplaw.com
14   FERGUSON CASE ORR PATERSON LLP
     1050 South Kimball Road
15   Ventura, California 93004
16   Telephone: (805) 659-6800

17
18 Attorneys for Plaintiff
19                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
20                                (Southern Division)
21
     JOHN UNDERWOOD,                                  )
22
                                                      )      Case No. 8:25-cv-00207-JVS-JDE
23        Plaintiff,                                  )
                                                      )      DECLARATION OF COREY A.
24
                 v.                                   )      DONALDSON REGARDING
25                                                    )      SERVICE PURSUANT TO
     JULIEN COALLIER,                                 )      L.R. 4-5 AND FED R. CIV. P.
26
                                                      )      4(f)(2)(C)(ii)
27        Defendant.                                  )
28

                             DECLARATION OF COREY A. DONALDSON
                REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
Case 8:25-cv-00207-JVS-JDE        Document 22 Filed 04/01/25           Page 2 of 17 Page ID
                                        #:113



 1 I, Corey A. Donaldson, declare as follows:
 2         1.    I am an attorney-at-law, duly licensed to practice law in the State of
 3 California and before this Court. I am co-counsel for Plaintiff John Underwood
 4 (“Plaintiff”) in this action. I know all the following of my own personal knowledge
 5 and, if called as a witness, could and would competently testify thereto.
 6         2.    I make this declaration to state the manner in which Plaintiff has served
 7 defendant Julien Coallier (“Defendant”).
 8         3.    On February 4, 2025, Plaintiff initiated this lawsuit by filing the
 9 Complaint against Defendant. See ECF No. 1.
10         4.    On information and belief including the confirmation of my co-counsel
11 Phillip Malone, on February 7, 2025, counsel for Plaintiff sent a copy of the Complaint
12 and waiver of service forms to Defendant by FedEx to 50 First Avenue, Flin Flon,
13 Manitoba, Canada R8A0T8, which is the address listed on the DMCA takedown notice
14 filed by Defendant (see ECF No. 1-1 at Ex. B), and which on information and belief is
15 Defendant’s home address. The tracking number for that package was 771951022241.
16 FedEx’s online tracking feature reflected that the package was delivered and signed for
17 on February 12, 2025. Attached hereto as Exhibit A is the FedEx delivery
18 confirmation.
19         5.    After Coallier did not return the waiver of service forms, on March 12,
20 2025, Plaintiff filed a request for foreign service under L.R. 4-5 and Fed. R. Civ. P.
21 4(a)(2)(C)(ii). See ECF No. 18. On March 18, 2025, the Deputy Clerk issued a Notice
22 of Service Pursuant to Local Rule 4-5 (see ECF No. 18) indicating that the service
23 documents were deposited with FedEx for service on March 18, 2025. The tracking
24 number for that package was 772782155544. FedEx’s online tracking feature reflects
25 that the package was delivered and signed for on March 21, 2025. Attached hereto as
26 Exhibit B is the FedEx delivery confirmation.
27         6.    On March 24, 2025, my co-counsel Paul A. Levy sent a courtesy email to
28 Defendant attaching digital copies of the papers that were served on him by FedEx,
                                               2
                             DECLARATION OF COREY A. DONALDSON
                REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
Case 8:25-cv-00207-JVS-JDE         Document 22 Filed 04/01/25           Page 3 of 17 Page ID
                                         #:114



 1 including the complaint, exhibits, civil cover, interested parties form, and papers filed
 2 in connection with Underwood’s request for service by the Clerk. According to Mr.
 3 Levy, the email was addressed both to the email address that Defendant placed on the
 4 Digital Millenium Copyright Act notice that he sent to YouTube and the email address
 5 that Coallier placed on his copyright registration. The email informed Defendant that
 6 his response to the complaint is due April 11, 2025.
 7         7.     Later on March 24, 2025, Defendant responded to Mr. Levy’s email.
 8 Defendant’s response indicated his belief that based on “previous paperwork,”
 9 Defendant had two months to respond. On information and belief, the “previous
10 paperwork” referred to by Defendant was the request for waiver of service that was
11 sent via FedEx to the same address as the service packet sent by the Deputy Clerk.
12         8.     On March 26, 2025, Mr. Levy responded to Defendant and informed him
13 of Plaintiff’s position that Defendant’s view of the deadline is mistaken, but that
14 Plaintiff would consent if Defendant wished to seek a reasonable extension of time to
15 respond.
16         9.     A copy of the email chain referenced in Paragraphs 6-8 above is attached
17 hereto as Exhibit C.
18         10.    On information and belief including the confirmation of Messrs. Malone
19 and Levy, no further communications between Plaintiff’s counsel and Defendant have
20 taken place.
21
22
23
24
25
26
27
28 ///
                                                    3
                              DECLARATION OF COREY A. DONALDSON
                 REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
Case 8:25-cv-00207-JVS-JDE       Document 22 Filed 04/01/25           Page 4 of 17 Page ID
                                       #:115



 1        I declare under penalty of perjury under the laws of the United States of
 2 America that the foregoing is true and correct.
 3        Executed on this 1st day of April in Westlake Village, California.
 4
                                                      By: /s/ Corey A. Donaldson
 5
                                                      COREY A. DONALDSON (SBN
 6
                                                      280383)
 7                                                    cdonaldson@fcoplaw.com
                                                      Ferguson Case Orr Paterson LLP
 8
                                                      1050 South Kimball Road
 9                                                    Ventura, California 93004
                                                      Telephone: (805) 659-6800
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  4
                            DECLARATION OF COREY A. DONALDSON
               REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
Case 8:25-cv-00207-JVS-JDE       Document 22 Filed 04/01/25           Page 5 of 17 Page ID
                                       #:116



 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that on April 1, 2025, I caused a true and correct ECF-stamped
 3 copy of the foregoing document to be served upon the following party via FedEx at the
 4 indicated physical address and via electronic mail at the indicated email addresses:
 5
 6
 7 Julian Coallier
 8 50 First Avenue
 9 Flin Flon, MB R8A0T8
10 CANADA
11 juliencoallier1@gmail.com
12 coallierjulien@yahoo.com
13
14
15 Dated: April 1, 2025                               By: /s/ Corey A. Donaldson
16                                                    COREY A. DONALDSON (SBN
                                                      280383)
17
                                                      cdonaldson@fcoplaw.com
18                                                    Ferguson Case Orr Paterson LLP
                                                      1050 South Kimball Road
19
                                                      Ventura, California 93004
20                                                    Telephone: (805) 659-6800
21
22
23
24
25
26
27
28
                                                  5
                            DECLARATION OF COREY A. DONALDSON
               REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
Case 8:25-cv-00207-JVS-JDE     Document 22 Filed 04/01/25           Page 6 of 17 Page ID
                                     #:117



 1
 2
 3
 4
 5
 6
 7                             EXHIBIT A
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                          DECLARATION OF COREY A. DONALDSON
             REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
Case 8:25-cv-00207-JVS-JDE   Document 22 Filed 04/01/25   Page 7 of 17 Page ID
                                   #:118
Case 8:25-cv-00207-JVS-JDE   Document 22 Filed 04/01/25   Page 8 of 17 Page ID
                                   #:119
Case 8:25-cv-00207-JVS-JDE   Document 22 Filed 04/01/25   Page 9 of 17 Page ID
                                   #:120
Case 8:25-cv-00207-JVS-JDE     Document 22 Filed 04/01/25           Page 10 of 17 Page ID
                                      #:121



 1
 2
 3
 4
 5
 6
 7                              EXHIBIT B
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                           DECLARATION OF COREY A. DONALDSON
              REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
Case 8:25-cv-00207-JVS-JDE   Document 22 Filed 04/01/25   Page 11 of 17 Page ID
                                    #:122
Case 8:25-cv-00207-JVS-JDE   Document 22 Filed 04/01/25   Page 12 of 17 Page ID
                                    #:123
Case 8:25-cv-00207-JVS-JDE   Document 22 Filed 04/01/25   Page 13 of 17 Page ID
                                    #:124
Case 8:25-cv-00207-JVS-JDE   Document 22 Filed 04/01/25   Page 14 of 17 Page ID
                                    #:125
Case 8:25-cv-00207-JVS-JDE     Document 22 Filed 04/01/25           Page 15 of 17 Page ID
                                      #:126



 1
 2
 3
 4
 5
 6
 7                              EXHIBIT C
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                           DECLARATION OF COREY A. DONALDSON
              REGARDING SERVICE PURSUANT TO L.R. 4-5 AND FED. R. CIV. P. 4(f)(2)(C)(ii)
     Case 8:25-cv-00207-JVS-JDE              Document 22 Filed 04/01/25              Page 16 of 17 Page ID
                                                    #:127

Paul Levy

From:                            Paul Levy
Sent:                            Wednesday, March 26, 2025 9:30 AM
To:                              juliencoallier1
Subject:                         RE: Case 8:25-cv-00207-JVS-JDE: John Underwood v. Julien Coallier


Mr. Coallier, when you refer to “previous paperwork,” I assume that you mean the waiver of service forms that we
sent you in February. And yes, if you had signed the waiver form and returned it within the time stated, you would
have been entitled to extra time to respond to the complaint. But because you did not do that, you have only until
April 11, 21 days after the day you received service from the Clerk of the Court, to file either an answer or motion to
dismiss.

But you could ask for more time for that filing, and as I suggested in my previous email, we would be willing to
consent to a reasonable motion seeking more time. You will have to deliver such a motion (or an answer) to the
Court in hard copy within the time limit unless you seek and receive permission from the Court to file
electronically. You can do that by following the instructions here: https://www.cacd.uscourts.gov/e-
filing/electronic-filing-and-case-access-people-without-lawyers

Paul Alan Levy
Public Citizen Litigation Group
1600 20th Street, NW
Washington, D.C. 20009
(202) 588-7725
plevy@citizen.org
https://www.citizen.org/article/internet-free-speech/

From: juliencoallier1 <juliencoallier1@gmail.com>
Sent: Monday, March 24, 2025 8:05 PM
To: Paul Levy <plevy@citizen.org>
Subject: RE: Case 8:25-cv-00207-JVS-JDE: John Underwood v. Julien Coallier


Based on your previous paperwork, the one month is for domestic, and two months is for international,
as International Im two months. Meanwhile because you acknowledge Cabada and US, its curious you
don't acknowledge copyright therefrom.

*It may be important for you to understand, yet not required for me to have said because of your angle of
approach, most changing of text was spacing, as meaning there was kept above 75% of words as new
words.

I'm still awaiting paperwork to show you.

Julien


-------- Original message --------
From: Paul Levy <plevy@citizen.org>

                                                           1
     Case 8:25-cv-00207-JVS-JDE             Document 22 Filed 04/01/25             Page 17 of 17 Page ID
                                                   #:128
Date: 3/24/25 5:05 PM (GMT-06:00)
To: juliencoallier1@gmail.com, coallierjulien@yahoo.ca
Cc: "Corey A. Donaldson" <cdonaldson@fcoplaw.com>, Phil Malone <pmalone@law.stanford.edu>
Subject: Case 8:25-cv-00207-JVS-JDE: John Underwood v. Julien Coallier


Mr. Coallier, I am lead counsel for John Underwood in this lawsuit against you. I am attaching electronic copies of
the complaint, summons, and other materials that were served on you on Friday by FedEx delivery by the Clerk of
the United States District Court for the Central District of California.



As the summons indicates, your response to the complaint—either an answer to the complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure—is due to be filed with the Court in California in 21 days from
Friday, specifically, April 11. Please let me know whether you need extra time to respond to the complaint.

If you are represented by counsel in this case, please have that lawyer contact me so that I can deal with your
lawyer instead of writing directly to you




Paul Alan Levy

Public Citizen Litigation Group

1600 20th Street, N.W.
Washington, D.C. 20009

202-588-7725

plevy@citizen.org

https://www.citizen.org/article/internet-free-speech/




                                                         2
